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                EXHIBIT 24
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 AFL-CIO, et al.,

 Plaintiffs,

 v.                                              Case No. 1:25-cv-00339

 DEPARTMENT OF LABOR, et al.,


 Defendants.




                            DECLARATION OF DANIEL MCNEIL

I, Daniel McNeil, declare as follows:

      1. My name is Daniel McNeil. I am the General Counsel for the American Federation of

         Teachers (AFT). I submit this declaration in support of Plaintiffs’ motion for a

         preliminary injunction in this matter. The statements made in this declaration are based

         on my personal knowledge, materials I have reviewed, and information made available to

         me pursuant to my duties at AFT.

      2. AFT is a national labor organization and unincorporated association headquartered in

         Washington, D.C., and which represents over 1.8 million members who are employed as

         pre-K through 12th-grade teachers, early childhood educators, paraprofessionals, and

         other school-related personnel; higher education professional staff and faculty; federal,

         state, and local government employees; and nurses and other healthcare professionals.

      3. AFT’s purpose is to promote fairness, democracy, economic opportunity, and high-

         quality public education, healthcare, and public services for students, their families, and
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   communities their members serve. AFT does so by ensuring its members receive fair pay

   and benefits for their critical work, and by fighting for safe working conditions that also

   benefit students, patients and all those who use public services. Economic and retirement

   security is at the core of AFT’s mission.

4. The AFT has approximately 490,000 members who are retired. Active members are

   members of the AFT retiree division as soon as their local union changes their status

   from “working” to “retired, active” in their reports to the AFT. Retirees are organized in

   more than 100 chartered AFT retiree chapters nationwide. Each chapter is able to send a

   delegate to the biennial AFT Convention where delegates from all AFT locals debate and

   vote on resolutions that set the policies and priorities of the AFT. Many of these retiree

   AFT members are eligible for and are enrolled in Medicare.

5. Numerous AFT members also benefit from the economic security provided by

   unemployment insurance (“UI”), either because they have filed for UI benefits in the past

   or will file for benefits in the future should they become subject to a layoff. Certain

   classes of AFT membership are particularly likely to receive UI benefits. For instance, of

   AFT’s roughly 300,000 higher education members, approximately 85,000 are contingent

   faculty. Due to the employment practices of colleges and universities, many of these

   contingent faculty members do not have reasonable assurances of continuing employment

   for the following term and are thus eligible for much needed UI benefits in between

   academic semesters. The AFT also has more than 370,000 members who make up the

   paraprofessional and school-related personnel (PSRP) division. Many of these members

   are fighting for job security and full-time hours due to the nature of the 10-month school
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   year. And in states like Oregon, many AFT PSRP members become eligible to receive UI

   benefits over the summer.

6. AFT has long worked to improve the lives of its members, including to strengthen

   programs such as Medicare and UI. AFT has passed resolutions, for example, expressing

   AFT’s commitment to fighting to maintain Medicare benefits, to create a uniform drug

   benefit within Medicare, to allow Medicare to negotiate for better drug prices, and to

   permanently expand eligibility for UI benefits. AFT, with and through its state and local

   affiliates, has also engaged in advocacy at the state level to expand eligibility for PSRP

   and contingent faculty during breaks in the academic calendar.

7. AFT has also worked for many years to protect its members’ private information

   including by advocating for privacy in the workplace and against electronic surveillance.

   For instance, AFT has passed resolutions urging the government to enact legislation

   allowing internet users the choice to opt out of data collection, regulation to enhance

   individual control over personal data, and regulation to prevent the commercialization of

   private data.

8. AFT also advocates for the enforcement of government regulations that protect its

   members’ personal data in the context of AI. Among other things, AFT has passed a

   resolution advocating for the de-identification of healthcare data used in AI validation

   and the policies that ensure that any AI used in healthcare complies with HIPAA.

9. Stated differently, as part of AFT’s mission and purpose of supporting educators who

   interface with the federal government, AFT advocates for the protection and safeguarding

   by various federal agencies and departments of AFT members’ personal data. For
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   example, AFT has been working with an external organization to train leaders and

   members to secure and protect data.

10. I am aware of and have identified individual AFT members who participate in Medicare,

   administered by the Centers for Medicare & Medicaid Services (CMS), housed within the

   Department of Health and Human Services (DHHS).

11. I am aware that the sensitive information of these and other AFT members is contained in

   DHHS record systems, including Social Security numbers, bank account information, and

   sensitive health information.

12. I am aware of and have identified individual AFT members who have filed for UI

   benefits within the past three years.

13. Upon information and belief, due to a Department of Labor (DOL) audit of UI claims,

   sensitive information of these and other AFT members is likely contained in DOL record

   systems, including Social Security numbers, date of birth, phone numbers, email

   addresses, physical addresses, and recent employment history.

14. I am aware that personnel from the Department of Government Efficiency (DOGE) have

   accessed sensitive information at DOL and DHHS, including private health records and

   UI records.

15. I am not aware of any AFT member who has requested or authorized DOGE or its

   representatives to access their personal data or who has consented to the use of this data

   for any purposes previously disclosed by DOL or DHHS.

16. AFT has heard from many members who are personally concerned about DOGE’s access

   to the private personal and financial information that they have provided to federal

   agencies.
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17. Improper disclosure of this information to DOGE increases the risk of access by external

   actors, doxxing, identity theft, invasion of personal privacy, and financial crimes against

   AFT members. Introducing these sensitive personal databases into artificial

   intelligence—as DOGE has done in other government systems—enhances these risks.

18. These risks will continue until DOGE personnel are prohibited from accessing DHHS

   and DOL record systems without proper training and safety measures.

19. Further, AFT offers free identity theft protection coverage for all active and retiree

   members through its member benefits program. Given the amount of outreach we have

   received from members and the severity of their concerns, a data breach resulting from

   DOGE’s access to information maintained by DOL and DHHS and member concerns

   about breaches is likely to result in an increase in costs to the AFT to maintain this

   program, as members will use this tool with more frequency and the union will encourage

   them to do so.



   I declare under penalty of perjury as prescribed in 28 U.S.C. § 1746 that the foregoing is

   true and correct.

   Executed on April 16, 2025, in Washington, D.C.




                                                                  Daniel McNeil
